AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case




                                               UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
    UNITED STATES OF AMERICA                                           )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Offenses Committed On or After November 1, 1987)
                V.                                                     )
                                                                       )
    KALON JAMAR LOGAN                                                  )   Case Number: DNCW121CR000052-001
                                                                       )   USM Number: 49887-509
                                                                       )
                                                                       )   Richard E. Cassady
                                                                       )   Defendant’s Attorney

THE DEFENDANT:
  Pleaded guilty to count 1.
  Pleaded nolo contendere to count(s) which was accepted by the court.
  Was found guilty on count(s) after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                                                                               Date Offense
 Title and Section                         Nature of Offense                                                    Concluded      Counts
 18 U.S.C. § 922(g)(1),                    Felon in Possession of Firearm and Ammunition                        12/30/2020       1
 18 U.S.C. § 924(a)(2)

        The Defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

  The defendant has been found not guilty on count(s).
  Count(s) (is)(are) dismissed on the motion of the United States.
        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney
of any material change in the defendant's economic circumstances.


                                                                                Date of Imposition of Sentence: 12/2/2021




                                                                                Date: December 6, 2021




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 1 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                    Judgment- Page 2 of 7
Case Number: DNCW121CR000052-001



                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
FORTY-ONE (41) MONTHS.

 The Court makes the following recommendations to the Bureau of Prisons:
         1.Participation in any available educational and vocational opportunities.
         2.Participation in the Federal Inmate Financial Responsibility Program.
         3.Participation in any available substance abuse treatment program and, if eligible, receive benefits of
           18:3621(e)(2).
       4. Defendant shall support all dependents from prison earnings.
       5. The defendant spent from 12/30/2020 to 3/3/2021 in state custody as a result of the offense for which
           sentence is imposed herein. This information is provided for the purpose of allowing the defendant such
           credit as he is entitled pursuant to 18 USC § 3585.
    The Defendant is remanded to the custody of the United States Marshal.

 The Defendant shall surrender to the United States Marshal for this District:
            As notified by the United States Marshal.
            At on .

 The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            As notified by the United States Marshal.
            Before 2 p.m. on .
            As notified by the Probation Office.


                                                            RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                        United States Marshal
                                                                     By:
                                                                           Deputy Marshal




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 2 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                                                                   Judgment- Page 3 of 7
Case Number: DNCW121CR000052-001

                                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS.

☐ The condition for mandatory drug testing is suspended based on the court's determination that the defendant poses a low risk of
future substance abuse.
                                                              CONDITIONS OF SUPERVISION
The defendant shall comply with the mandatory conditions that have been adopted by this court.
       1.     The defendant shall not commit another federal, state, or local crime.
       2.     The defendant shall not unlawfully possess a controlled substance.
       3.     The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
              imprisonment and at least two periodic drug tests thereafter, as determined by the Court (unless omitted by the Court).
       4.     The defendant shall cooperate in the collection of DNA as directed by the probation officer (unless omitted by the Court).


The defendant shall comply with the discretionary conditions that have been adopted by this court and any additional conditions ordered.
       5.     The defendant shall report to the probation office in the federal judicial district where he/she is authorized to reside within 72 hours of release from
              imprisonment, unless the probation officer instructs the defendant to report to a different probation office or within a different time frame.
       6.     The defendant shall report to the probation officer in a manner and frequency as directed by the Court or probation officer.
       7.     The defendant shall not leave the federal judicial district where he/she is authorized to reside without first getting permission from the Court or probation
              officer.
       8.     The defendant shall answer truthfully the questions asked by the probation officer. However, defendant may refuse to answer a question if the truthful answer
              would tend to incriminate him/her of a crime. Refusal to answer a question on that ground will not be considered a violation of supervised release.
       9.     The defendant shall live at a place approved by the probation officer. The probation officer shall be notified in advance of any change in living arrangements
              (such as location and the people with whom the defendant lives). If advance notification is not possible due to unanticipated circumstances, the defendant
              shall notify the probation officer within 72 hours of becoming aware of a change or expected change.
      10.     The defendant shall allow the probation officer to visit him/her at any time at his/her home or any other reasonable location as determined by the probation
              office, and shall permit the probation officer to take any items prohibited by the conditions of his/her supervision that the probation officer observes.
      11.     The defendant shall work full time (at least 30 hours per week) at lawful employment, actively seek such gainful employment or be enrolled in a full time
              educational of vocational program unless excused by the probation officer. The defendant shall notify the probation officer within 72 hours of any change
              regarding employment or education.
      12.     The defendant shall not communicate or interact with any persons he/she knows is engaged in criminal activity, and shall not communicate or interact with any
              person he/she knows to be convicted of a felony unless granted permission to do so by the probation officer.
      13.     The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a law enforcement officer.
      14.     The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was designed, or
              was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      15.     The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential informant without first getting the permission of the
              Court.
      16.     The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any narcotic or controlled
              substance or any psychoactive substances (including, but not limited to, synthetic marijuana, bath salts) that impair a person’s physical or mental functioning,
              whether or not intended for human consumption, or any paraphernalia related to such substances, except as duly prescribed by a licensed medical
              practitioner.
      17.     The defendant shall participate in a program of testing for substance abuse. The defendant shall refrain from obstructing or attempting to obstruct or tamper,
              in any fashion, with the efficiency and accuracy of the testing. The defendant shall participate in a substance abuse treatment program and follow the rules
              and regulations of that program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider,
              location, modality, duration, intensity) (unless omitted by the Court).
      18.     The defendant shall not go to, or remain at any place where he/she knows controlled substances are illegally sold, used, distributed, or administered without
              first obtaining the permission of the probation officer.
      19.     The defendant shall submit to a search if the Probation Officer has a reasonable suspicion that the defendant has committed a crime or a violation of a
              condition of supervised release. Such a search may be conducted by a U.S. Probation Officer, and such other law enforcement personnel as the probation
              officer may deem advisable, without a warrant or the consent of the defendant. Such search may be of any place where evidence of the above may
              reasonably be expected to be found, including defendant’s person, property, house, residence, vehicle, communications or data storage devices or media or
              office.
      20.     The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of probation or the term
              of supervised release in accordance with the schedule of payments of this judgment. The defendant shall notify the court of any changes in economic
              circumstances that might affect the ability to pay this financial obligation.
      21.     The defendant shall support all dependents including any dependent child, or any person the defendant has been court ordered to support.
      22.     The defendant shall participate in transitional support services (including cognitive behavioral treatment programs) and follow the rules and regulations of such
              program. The probation officer will supervise the defendant’s participation in the program (including, but not limited to, provider, location, modality, duration,
              intensity). Such programs may include group sessions led by a counselor or participation in a program administered by the probation officer.
      23.     The defendant shall follow the instructions of the probation officer related to the conditions of supervision.




                       Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 3 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                               Judgment- Page 4 of 7
Case Number: DNCW121CR000052-001



ADDITIONAL CONDITIONS:

     24.      The defendant shall not communicate, or otherwise interact, with any known member of the United Blook Nation gang,
              without first obtaining the permission of the probation officer.




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 4 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                              Judgment- Page 5 of 7
Case Number: DNCW121CR000052-001



                                                          CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                  ASSESSMENT                                      RESTITUTION                              FINE
                    $100.00                                          $0.00                                 $0.00


 The determination of restitution is deferred until. Upon such a determination an Amended Judgment in a Criminal Case
(AO 245C) will be entered. Failing such a determination by, restitution amount becomes $0.00 without further Order of the
Court.




                                                                    INTEREST

         The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

 The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

           The interest requirement is waived.

           The interest requirement is modified as follows:


                                                          COURT APPOINTED COUNSEL FEES

 The defendant shall pay court appointed counsel fees.




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 5 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                                  Judgment- Page 6 of 7
Case Number: DNCW121CR000052-001



                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

           A  Lump sum payment of $0.00 due immediately, balance due
                  Not later than
                  In accordance  (C),  (D) below; or

           B  Payment to begin immediately through the Financial Responsibility Program (may be combined
               with  (D) below); or

           C  Payment in equal monthly installments of $50.00 to commence 60 days after the date of this judgment; or

           D  In the event the entire amount of criminal monetary penalties imposed is not paid prior to the
               commencement of supervision through the Financial Responsibility Program, payments shall be made in
               equal monthly installments of $50.00 to commence 60 days after release from imprisonment to a term of
               supervision. The U.S. Probation Officer shall pursue collection of the amount due, and may request to modify
               a payment schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the payment of criminal monetary penalties:

 The defendant shall pay the cost of prosecution.
 The defendant shall pay the following court costs:
 The defendant shall forfeit the defendant’s interest in the following property to the United States as set forth in the
Consent Order (Doc. 17) entered 8/20/2021:

             Glock 17, 9mm caliber pistol, serial number BFZW273, with extended magazine; and
             Twenty-five rounds of assorted 9mm caliber ammunition.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room
1301, Charlotte, NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility
Program. All criminal monetary penalty payments are to be made as directed by the court.

The Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 6 of 7
AO 245B (WDNC Rev. 01/2020) Judgment in a Criminal Case



Defendant: Kalon Jamar Logan                                                                         Judgment- Page 7 of 7
Case Number: DNCW121CR000052-001



                                                          STATEMENT OF ACKNOWLEDGMENT

I understand that my term of supervision is for a period of _______months, commencing on ____________________.

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision.

I understand that revocation of probation and supervised release is mandatory for possession of a controlled substance,
possession of a firearm and/or refusal to comply with drug testing.

These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signed)         ____________________________________ Date: _________________
                  Defendant

(Signed)         ____________________________________ Date: _________________
                  U.S. Probation Office/Designated Witness


 The Court gives notice that this case may involve other defendants who may be held jointly and severally liable for
payment of all or part of the restitution ordered herein and may order such payment in the future.




                      Case 1:21-cr-00052-MR-WCM Document 26 Filed 12/06/21 Page 7 of 7
